  Case: 1:13-cv-07949 Document #: 221 Filed: 10/11/18 Page 1 of 12 PageID #:4541




                                                                            69950001-GUO
                       UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

GENE MICHNO,                            )
                                        )
                             Plaintiff, ) Honorable Matthew F. Kennelly
                                        )
                   v.                   ) Case No. 13-cv-7163
                                        )
                                        ) Consolidated
SHERIFF THOMAS DART, COOK COUNTY )
SHERIFF’S OFFICE, ROSEMARIE NOLAN,      )
ZELDA WHITTLER, JOSEPH WAYS, SR.,       )
GARY HICKERSON, AND COOK COUNTY, )
                                        )
                           Defendants. )



IVAN HERNANDEZ,
                                                  )
                                       Plaintiff, ) Honorable Matthew F. Kennelly
                                                  )
                        v.                        ) Case No. 13-cv-07949
                                                  )
COOK COUNTY SHERIFF’S OFFICE,                     ) Consolidated
THOMAS J. DART, in his individual capacity        )
as Sheriff of Cook County, Illinois               )
ROSEMARIE NOLAN, ZELDA WHITTLER, )
JOSEPH WAYS, SR., EDWARD M. DYNER, )
in their individual capacities, and COOK          )
COUNTY, a local unit of government,               )
                                                  )
                                     Defendants. )

   DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFFS’ MOTION FOR
                   PARTIAL SUMMARY JUDGMENT

       NOW COME Defendants, COOK COUNTY SHERIFF’S OFFICE, AND THOMAS J.

DART, ROSEMARIE NOLAN, ZELDA WHITTLER, JOSEPH WAYS SR., GARY

HICKERSON, EDWARD DYNER, AND COOK COUNTY (the “Defendants”) by their
  Case: 1:13-cv-07949 Document #: 221 Filed: 10/11/18 Page 2 of 12 PageID #:4542




attorneys, Querrey & Harrow, Ltd., and for their Response in Opposition to Plaintiffs’ Motion

for Partial Summary Judgment, state as follows:

                                        INTRODUCTION

       In their Motion for Summary Judgment, Plaintiffs argue that Defendants should be

collaterally estopped from litigating the issue of whether they had knowledge of Plaintiffs’

political affiliations or perceived political affiliations. Plaintiffs, however, are unable to satisfy

all four elements necessary to establish that Defendants should be collaterally estopped from

litigating this issue at trial. The sole Defendant at the time of trial in Hernandez I was the Cook

County Sheriff’s Office. None of the individual Defendants against whom collateral estoppel is

being asserted were involved in the prior litigation and, therefore, were not fully represented in

that case. Next, the Cook County Sheriff’s Office should also not be collaterally estopped from

litigating this issue because it did not have a meaningful opportunity to appeal the resolution of

this issue in Hernandez I. Accordingly, this Court should deny Plaintiffs’ Motion for Partial

Summary Judgment.

                                    STATEMENT OF FACTS

       A.      Hernandez I

       Plaintiffs Ivan Hernandez and Gene Michno, along with four other individuals, filed a

lawsuit, Hernandez, et al. v. Cook County Sheriff’s Office (07 CV 855) (hereinafter “Hernandez

I”), on February 13, 2007, in which they alleged that the Cook County Sheriff’s Office violated

their First Amendment rights by discriminating and retaliating against them due to their support

for a particular candidate for Cook County Sheriff. (DSOAF ¶ 1). In short, Plaintiffs alleged that

following the February 11, 2006 Jail escape during which six violent inmates escaped from the


                                                  2
  Case: 1:13-cv-07949 Document #: 221 Filed: 10/11/18 Page 3 of 12 PageID #:4543




ABO, they were only investigated and disciplined because they supported Richard Remus for

Sheriff in the March 2006 Democratic Primary. (DSOAF ¶ 1). In Hernandez I, Plaintiffs had

originally sued the Cook County Sheriff’s Office, Sheriff Michael Sheahan, Dennis Andrews,

Timothy Kaufmann, Scott Kurtovich and Thomas Snooks. (DSOAF ¶ 2). All of the individual

Defendants, including Sheriff Sheahan, were sued in their individual capacities. (DSOAF ¶ 2).

By the time that the case reached trial in August of 2016, the sole remaining Defendant was the

Cook County Sheriff’s Office. (DSOAF ¶ 2).

       Following a three week bench trial, Judge Durkin entered judgment in favor of

Defendant. In reaching his decision, Judge Durkin found that Plaintiffs had met their initial

burden of proof. (DSOAF ¶ 3). When reaching his decision, Judge Durkin stated that “the Court

finds the Sheriff’s Office believed Plaintiffs, like virtually all SORT officers, were politically

affiliated with Remus” based on the testimony of Sheriff’s Office officials Scott Kurtovich and

Dennis Andrews. (DSOAF ¶ 4).

       Once the Hernandez I court found that Plaintiffs had met their initial burden of proof, the

court found that Defendant Cook County Sheriff’s Office met its burden of showing that another

“sufficient condition” existed for the employment actions taken against Plaintiffs. (DSOAF ¶ 5).

In short, the court found that . . . Gater’s confession, coupled with the fact that Plaintiffs were

responsible for guarding the section of the Jail from which the escape originated—was a

sufficient condition for the investigations and suspensions.” (DSOAF ¶ 6). The court further

reasoned that the employment actions taken against Plaintiffs were “eminently reasonable”

because Bailey and Davis were assigned to guard the ABO during the escape, Hernandez had

failed to properly ensure that Bailey and Davis were at their posts for the shift during which the


                                                3
  Case: 1:13-cv-07949 Document #: 221 Filed: 10/11/18 Page 4 of 12 PageID #:4544




escape occurred, and Darin Gater’s confession indirectly implicated Bailey and Davis and

directly implicated Michno, Jones, and Rodriguez. (DSOAF ¶ 7).

       B.      Current Cases

       An OPR investigation was opened and termination proceedings were brought against

Plaintiff Gene Michno after he failed to report to the Cook County Medical Unit for six months

after his Medical Leave of Absence expired despite having received notice to do so. (DSOAF ¶

8). In his current lawsuit, Plaintiff Michno claims that an OPR investigation was conducted and

termination proceedings were initiated because of his political affiliation and his participation in

Hernandez I. (DSOAF ¶ 9). His lawsuit was brought against the Cook County Sheriff’s Office,

Sheriff Dart, Rosemarie Nolan, Zelda Whittler, Joseph Ways, Sr., Gary Hickerson, and Cook

County. (DSOAF ¶ 10). All individual Defendants, including Sheriff Dart, are being sued in their

individual capacities. (DSOAF ¶ 10).

       The OPR investigation regarding Plaintiff Michno was assigned to Shilling, who was not

aware of any lawsuits filed by correctional officers relating to the 2006 Jail Escape, and he

neither researched nor heard about the political affiliation of any employee, including Plaintiff

Michno. (DSOAF ¶¶ 11-12). Fitzgerald, who took over the OPR investigation and who sustained

the allegations against Plaintiff Michno, testified that he never inquired or conducted research

into Michno’s political affiliation and he did not know that Michno was involved in any

litigation against the Sheriff’s Office. (DSOAF ¶¶ 13-15). Defendant Ways, who reviewed

Fitzgerald’s findings and made the discipline recommendation prior to the Command Channel

Review, testified that there was no indication that any consideration was given to politics during

the OPR investigation and he never communicated with the Sheriff regarding Michno’s OPR


                                                 4
  Case: 1:13-cv-07949 Document #: 221 Filed: 10/11/18 Page 5 of 12 PageID #:4545




investigation. (DSOAF ¶¶ 16-18). Defendant Hickerson testified that he did not know who

Michno was and that he did not have communications with anyone regarding Michno prior to

reviewing and signing off on Michno’s OPR investigation as part of the Command Channel

Review. (DSOAF ¶¶ 19-20). Defendant Whittler, who reviewed the OPR investigations as part

of the Command Channel Review, was not involved in the investigations and she did not recall

having any conversations with anyone regarding Michno. (DSOAF ¶¶ 21-22). Defendant

Whittler learned of Hernandez I after she received the OPR investigation and she did not believe

that the recommendation of discipline was based on anything other than the sufficient evidence

contained within the investigations. (DSOAF ¶¶ 23-24). Finally, Sheriff Dart was not involved in

Michno’s OPR investigation. (DSOAF ¶ 37).

       With respect to Plaintiff Hernandez, he was ordered to appear for an OPR witness

interview relating to the theft allegations against Correctional Officer Burruss, but Plaintiff

Hernandez refused to answer questions unless his attorney was present. (DSOAF ¶¶ 25-26).

Plaintiff Hernandez was thus added to the Complaint Register in the Burruss matter for an

investigation into his failure to cooperate with the OPR investigation. (DSOAF ¶ 27). Similar to

Plaintiff Michno, Plaintiff Hernandez claims the employment actions were taken against him

because of his political affiliation and his participation in Hernandez I. (DSOAF ¶¶ 28). His

lawsuit was brought against the Cook County Sheriff’s Office, Sheriff Dart, Rosemarie Nolan,

Zelda Whittler, Joseph Ways, Sr., Edward Dyner, and Cook County. (DSOAF ¶ 29). Sheriff Dart

is being sued in his individual and official capacities, and the remaining individual Defendants

are being sued in their individual capacities. (DSOAF ¶ 29).




                                                5
     Case: 1:13-cv-07949 Document #: 221 Filed: 10/11/18 Page 6 of 12 PageID #:4546




         Investigator Hemphill testified that he does not remember knowing that Plaintiff

Hernandez had a pending lawsuit at the time of the investigation and he had no basis to think that

Plaintiff Hernandez was being retaliated against for filing a lawsuit. (DSOAF ¶¶ 30-31).

Although Defendant Dyner became aware of the fact that Hernandez had a pending lawsuit at the

time he signed off on Investigator Hemphill’s summary report, he did not know the specific

allegations being made in Hernandez I and did not know there were claims of political

retaliation. (DSOAF ¶ 32). When Gary Hickerson signed off on the Command Channel Review

of Plaintiff Hernandez’s OPR investigation, he did not know who Plaintiff Hernandez was.

(DSOAF ¶ 33). Defendant Ways did not discuss the discipline he recommended for Plaintiff

Hernandez with anyone. (DSOAF ¶ 34). Defendant Whittler did not believe that the

recommendation of discipline was based on anything other than the sufficient evidence contained

within the investigation. (DSOAF ¶ 35). Finally, neither Defendant Nolan nor Sheriff Dart was

involved in Plaintiff Hernandez’s OPR investigation. (DSOAF ¶¶ 36, 38).

                                          ARGUMENT

I.       Standard of Review

         Summary judgment is only proper if “the pleadings, depositions, answers to

interrogatories, and admissions on file, together with the affidavits, if any, show that there is no

genuine issue as to any material fact and that the moving party is entitled to a judgment as a

matter of law.” Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986). When ruling upon a

motion for summary judgment, the Court must construe all facts favorably to the non-moving

party and make reasonable inferences in that party’s favor. Rebolar ex rel. Rebolar v. City of

Chicago, Ill., 897 F.Supp.2d 723, 726 (N.D. Ill. 2012) (Gilbert, J.) (citing Eaton v. Ind. Dep’t of


                                                 6
  Case: 1:13-cv-07949 Document #: 221 Filed: 10/11/18 Page 7 of 12 PageID #:4547




Corr., 657 F.3d 551, 552 (7th Cir.2011)). The Court’s role on summary judgment “is not to

evaluate the weight of the evidence, to judge the credibility of witnesses, or to determine the

truth of the matter, but instead to determine whether there is a genuine issue of triable fact.”

National Athletic Sportswear, Inc. v. Westfield Ins. Co., 528 F.3d 508, 512 (7th Cir.2008).

Summary judgment is not a tool that can be “used to resolve swearing contests between

litigants.” Payne v. Pauley, 337 F.3d 767, 770 (7th Cir. 2003).

II.    Collateral Estoppel Is Not Proper

       Defendants should not be collaterally estopped from litigating the issue of whether they

knew of Plaintiffs Michno and Hernandez’s political affiliation. Collateral estoppel applies only

if the following requirements are satisfied: (1) the party against whom it is being asserted was

fully represented in the prior litigation; (2) the issue sought to be precluded must have been

identical to the issue in the prior litigation; (3) the issue must have been litigated and decided on

its merits in the prior litigation; and (4) the resolution of the issue must have been necessary to

the court’s judgment. Little v. Tapscott, No. 01 C 9738, 2002 U.S. Dist. LEXIS 13314, at *20

(N.D. Ill. July 19, 2002) (Guzman, J.). The Court has “a broad range of discretion in assessing

the propriety of [Plaintiffs’] motion that seeks to use collateral estoppel offensively to preclude

[Defendants] from relitigating an issue previously decided in another action.” Garza v.

Henderson, 779 F.2d 390, 393 (7th Cir. 1985). The Court’s “sense of justice and equity” governs

the application of collateral estoppel. Blonder-Tongue Labs., Inc. v. Univ. of Ill. Found., 402

U.S. 313, 334 (1971).




                                                 7
  Case: 1:13-cv-07949 Document #: 221 Filed: 10/11/18 Page 8 of 12 PageID #:4548




        A.      The Individual Defendants Were Not Fully Represented in Hernandez I

        Significantly, in Section 1983 actions, “a judgment will not be given collateral estoppel

effect if the party against whom a previous court decision is asserted did not have a full and fair

opportunity to litigate the claim or issue decided by the first court.” Little, 2002 U.S. Dist.

LEXIS 13314, at *20-21 (citing Haring v. Prosise, 462 U.S. 306, 313 (1983)). See also Gray v.

Lacke, 885 F.2d 399, 406 (7th Cir. 1989) (quoting Allen v. McCurry, 449 U.S. 90, 95 (1980))

(explaining that “courts will not apply collateral estoppel when the party against whom the prior

decision is invoked did not have a ‘full and fair opportunity to litigate’ that issue in the prior

case”). See also generally Parker v. Four Seasons Hotels, No. 12 CV 3207, 2012 U.S. Dist.

LEXIS 97622, *3 (N.D. Ill. July 13, 2012) (Leinenweber, J.). Notably, litigants who never

appeared in the prior action “may not be collaterally estopped without litigating the issue”

because they “never had a chance to present their evidence and arguments on the claim.” Boyer

v. BNSF Ry. Co., 824 F.3d 694, 703-04 (7th Cir. 2016) (citing Blonder-Tongue Labs., Inc., 402

U.S. at 329). Due process prohibits estopping them despite the existence of an adjudication of

identical issues that stand against their position. Id.

        Here, Plaintiff cannot satisfy the first element of collateral estoppel—that the party

against whom collateral estoppel is being asserted was fully represented in the prior litigation.

Not one of the individual Defendants named in the current cases were named as Defendants in

Hernandez I. (DSOAF ¶¶ 2, 10, 29). The individual Defendants were not represented in the prior

litigation and none of them had the opportunity to fully litigate the issue of whether they had

knowledge of Plaintiffs’ political affiliation or perceived political affiliation. Collateral estoppel




                                                   8
  Case: 1:13-cv-07949 Document #: 221 Filed: 10/11/18 Page 9 of 12 PageID #:4549




thus cannot be applied here. See United States v. Brocksmith, 991 F.2d 1363, 1367 (7th Cir.

1993) (explaining that “collateral estoppel holds only between the same parties”).

       Significantly, because the individual Defendants are being sued in their individual

capacities, Plaintiffs cannot argue that they were in privity with the Cook County Sheriff’s

Office in Hernandez I. (DSOAF ¶¶ 10, 29). There is a distinction between a government official

being sued in their official capacity and a government official being sued in their individual

capacity as an official capacity lawsuit is really a lawsuit against the government entity and an

individual capacity lawsuit “seeks to impose personal liability upon a government official.”

Sterling v. United States, 85 F.3d 1225, 1229 (7th Cir. 1996). Accordingly, “[g]overnment

employees (in their individual capacities) are not in privity with their government employer.” See

generally Rathgeb v. Carlinville Bd. of Police Comm’rs, No. 90-3180, 1993 U.S. Dist. LEXIS

18034, *14 (C.D. Ill. May 28, 1993). See also generally Connor v. Reinhard, 847 F.2d 384, 395

(7th Cir. 1988) (citing Headley v. Bacon, 828 F.2d 1272, 1279 (8th Cir. 1987) (“[C]ourts do not

generally consider an official sued in his personal capacity as being in privity with the

government.”); Roy v. City of Augusta, Me., 712 F.2d 1517, 1521-22 (1st Cir. 1983); Kunzelman

v. Thompson, 799 F.2d 1172, 1178 (7th Cir. 1986)) (explaining that government employees sued

in their individual capacities are not in privity with the government under res judicata).

Preclusion is only justified as to litigation undertaken in an official capacity and, therefore, a

judgment against a government does not bind its officials in subsequent litigation that asserts a

personal liability against the officials.” Connor, 847 F.2d at 395 (quoting C. Wright, A. Miller &

E. Cooper, Federal Practice and Procedure § 4458, at 508 (1981)) (internal quotations omitted).




                                                9
 Case: 1:13-cv-07949 Document #: 221 Filed: 10/11/18 Page 10 of 12 PageID #:4550




       As the individual Defendants, including Sheriff Dart to the extent he is being sued in his

individual capacity, were not in privity with the Cook County Sheriff’s Office, they must not be

estopped from litigating the issue of whether or not they knew of Plaintiffs’ political affiliations.

As set forth above, the purpose of collateral estoppel is to prevent parties from relitigating an

issue that has already been decided in another case. Garza, 779 F.2d at 393. However, since the

individual Defendants were not involved in Hernandez I and were not fully represented in that

matter, they would not be relitigating an issue that was already decided in that matter. Rather,

they would be litigating the issue for the first time.

       Additionally, the principles of equity and fairness require that Defendants and defense

witnesses not be collaterally estopped from litigating this issue because genuine issues of

material fact exist as to whether the individual Defendants knew of Plaintiffs’ political affiliation

and/or Hernandez I. The investigators assigned to Michno’s OPR investigation, Shilling and

Fitzgerald, testified that they were unaware of Michno’s political affiliation or the Hernandez I

lawsuit. (DSOAF ¶¶ 11-14). Similarly, with respect to Plaintiff Hernandez, Investigator

Hemphill testified that he does not remember knowing that Plaintiff Hernandez had a pending

lawsuit at the time of the investigation and Defendant Dyner, who learned of the existence of a

lawsuit, did not know the specific allegations being raised in the lawsuit or that it involved

claims of political retaliation. (DSOAF ¶¶ 30-32). Gary Hickerson also did not know who

Hernandez was at the time he signed off on the investigation. (DSOAF ¶ 33). Defendant Ways

testified that there was no indication that any consideration was given to politics during the OPR

investigations. (DSOAF ¶¶ 17, 34). As Defendant Hickerson testified that he did not know who

Michno was, he would not have known of Michno’s political affiliation. Defendant Whittler


                                                  10
 Case: 1:13-cv-07949 Document #: 221 Filed: 10/11/18 Page 11 of 12 PageID #:4551




testified that she did not recall having any conversations with anyone regarding Michno or

Hernandez and that she did not believe that the recommendation of discipline was based on

anything other than the sufficient evidence contained within the investigations. (DSOAF ¶¶ 21-

24, 35). Finally, Defendant Nolan had no involvement in Plaintiff Michno’s investigation, and

Sheriff Dart was not involved in either Plaintiff’s OPR investigation. (DSOAF ¶¶ 36-38). In

short, the individual Defendants must be afforded the opportunity to fully litigate the issue of

whether they had knowledge of Plaintiffs’ political affiliations or perceived political affiliations.

Otherwise, a miscarriage of justice would ensue as they would be bound by the judgment of

Hernandez I, a case in which they were not fully represented and in which they did not have any

opportunity to litigate this issue. This Court should thus deny Plaintiffs’ Motion for Partial

Summary Judgment as to the individual Defendants.

       B.      Collateral Estoppel Is Not Proper As to the Cook County Sheriff’s Office or
               Sheriff Dart

       Although the Hernandez I Court stated that the Cook County Sheriff’s Office “believed

Plaintiffs, like virtually all SORT officers, were politically affiliated with Remus,” the Sheriff’s

Office and Sheriff Dart, to the extent he is being sued in his official capacity by Plaintiff

Hernandez, should not be collaterally estopped from litigating this issue in the instant matter.

The general limitation to application of collateral estoppel is that “[t]he party against whom the

issue had been resolved must have had, first, a full and fair opportunity to litigate the issue in the

previous suit and, second, a meaningful opportunity to appeal the resolution of the issue.”

Deguelle v. Camilli, 724 F.3d 933, 935 (7th Cir. 2013) (emphasis added).

       As the final judgment was entered in favor of the Cook County Sheriff’s Office in

Hernandez I, there was no reasonable opportunity for the Sheriff’s Office to appeal the court’s

                                                 11
    Case: 1:13-cv-07949 Document #: 221 Filed: 10/11/18 Page 12 of 12 PageID #:4552




determination that it had knowledge of Plaintiffs’ political affiliations and support for Richard

Remus. Accordingly, the Sheriff’s Office and Sheriff Dart, to the extent he is being sued in his

official capacity,1 should not be collaterally estopped from litigating the issue of whether they

had knowledge of Plaintiffs’ political affiliations.

        WHEREFORE, Defendants, COOK COUNTY SHERIFF’S OFFICE, AND THOMAS J.

DART, ROSEMARIE NOLAN, ZELDA WHITTLER, JOSEPH WAYS SR., GARY

HICKERSON, EDWARD DYNER, AND COOK COUNTY, respectfully request that this Court

deny Plaintiffs’ Motion for Partial Summary Judgment and grant any other relief this Court

deems just.

                                                             Respectfully Submitted,

                                                             By: /s/ Terrence F. Guolee
                                                             One of the attorneys for Defendants

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  “Suing the Sheriff in his official capacity is the same as suing the Sheriff’s Office, so suing both is generally
considered redundant.” Bless v. Cook Cnty. Sheriff’s Office, 13 CV 4271, 2016 U.S. Dist. LEXIS 29961, *2 n. 1
(N.D. Ill. Mar. 8, 2016) (Lee, J.). See also Second Amend. Arms v. City of Chi., No. 10 CV 4257, 2012 U.S. Dist.
LEXIS 136645, *12-13 (N.D. Ill. Sept. 25, 2012) (Dow, J.) (dismissing the claims against the official-capacity
defendants because it was redundant to sue them and the City).
                                                        12
